Case 19-70152-JHH11   Doc 1    Filed 01/28/19 Entered 01/28/19 15:23:29   Desc Main
                              Document     Page 1 of 14
Case 19-70152-JHH11   Doc 1    Filed 01/28/19 Entered 01/28/19 15:23:29   Desc Main
                              Document     Page 2 of 14
Case 19-70152-JHH11   Doc 1    Filed 01/28/19 Entered 01/28/19 15:23:29   Desc Main
                              Document     Page 3 of 14
Case 19-70152-JHH11   Doc 1    Filed 01/28/19 Entered 01/28/19 15:23:29   Desc Main
                              Document     Page 4 of 14
Case 19-70152-JHH11   Doc 1    Filed 01/28/19 Entered 01/28/19 15:23:29   Desc Main
                              Document     Page 5 of 14
Case 19-70152-JHH11   Doc 1    Filed 01/28/19 Entered 01/28/19 15:23:29   Desc Main
                              Document     Page 6 of 14
Case 19-70152-JHH11   Doc 1    Filed 01/28/19 Entered 01/28/19 15:23:29   Desc Main
                              Document     Page 7 of 14
Case 19-70152-JHH11   Doc 1    Filed 01/28/19 Entered 01/28/19 15:23:29   Desc Main
                              Document     Page 8 of 14
Case 19-70152-JHH11   Doc 1    Filed 01/28/19 Entered 01/28/19 15:23:29   Desc Main
                              Document     Page 9 of 14
Case 19-70152-JHH11   Doc 1     Filed 01/28/19 Entered 01/28/19 15:23:29   Desc Main
                              Document      Page 10 of 14
Case 19-70152-JHH11   Doc 1     Filed 01/28/19 Entered 01/28/19 15:23:29   Desc Main
                              Document      Page 11 of 14
Case 19-70152-JHH11   Doc 1     Filed 01/28/19 Entered 01/28/19 15:23:29   Desc Main
                              Document      Page 12 of 14
Case 19-70152-JHH11   Doc 1     Filed 01/28/19 Entered 01/28/19 15:23:29   Desc Main
                              Document      Page 13 of 14
Case 19-70152-JHH11   Doc 1     Filed 01/28/19 Entered 01/28/19 15:23:29   Desc Main
                              Document      Page 14 of 14
